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                10                            UNITED STATES DISTRICT COURT

                11                           NORTHERN DISTRICT OF CALIFORNIA

                12                                 SAN FRANCISCO DIVISION

                13 WAYMO LLC,                                       CASE NO. 3:17-cv-00939

                14              Plaintiff,                          PLAINTIFF WAYMO LLC’S PRÉCIS IN
                                                                    SUPPORT OF ITS REQUEST TO FILE A
                15        vs.                                       MOTION FOR RELIEF BASED ON
                                                                    DEFENDANTS’ LITIGATION
                16 UBER TECHNOLOGIES, INC.;                         MISCONDUCT
                   OTTOMOTTO LLC; OTTO TRUCKING
                17 LLC,
                                                                    Date:       TBD
                18              Defendants.                         Time:       TBD
                                                                    Ctrm:       8, 19th Floor
                19                                                  Judge:      Honorable William H. Alsup
                                                                    Trial Date: February 5, 2018
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                                                                                                   Case No. 3:17-cv-00939
01980-00104/9798835.1           WAYMO’S PRÉCIS IN SUPPORT OF REQUEST TO FILE MOTION FOR RELIEF RE LITIGATION MISCONDUCT
                  1            Plaintiff Waymo LLC (“Waymo”) submits this précis requesting permission to file a motion

                  2 for relief based on the rampant discovery and litigation misconduct set forth in Waymo’s Offer of

                  3 Proof. Waymo has previously moved for a variety of remedial jury instructions and adverse

                  4 inferences to address some, but not all, of these abuses. In connection with ordering Waymo to

                  5 provide its Offer of Proof, the Court indicated that it is considering how to holistically address the

                  6 “constellation of problems” created by this misconduct. (Dkt. 2310 [11/29/2017 Hr’g Tr.] at 162:25-

                  7 163:1.) Waymo would like the opportunity to provide its own authorities and positions on these

                  8 issues so that the Court may consider them in devising the appropriate relief. Below, Waymo

                  9 summarizes some of the remedies that it would like to brief in its motion, all of which are warranted

                10 in these unique circumstances, including: 1) terminating sanctions; 2) remedial jury instructions and

                11 adverse inferences; 3) other evidentiary sanctions; and 4) time sanctions at trial.

                12 I.          THE COURT HAS BROAD AUTHORITY TO SANCTION DEFENDANTS FOR
                               LITIGATION MISCONDUCT
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                               Litigation discovery rules are intended to provide parties with the ability “to obtain the fullest
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                        possible knowledge of the issues and facts before trial.” Hickman v. Taylor, 329 U.S. 495, 501
                15
                        (1947). Consequently, Rule 37 of the Federal Rules of Civil Procedure expressly permits a court to
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                        enter sanctions against parties who violate orders, fail to make required disclosures or cooperate
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                        with the discovery process, or spoliate evidence. Fed. R. Civ. Pro. 37. The Ninth Circuit has also
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                        “recognized as part of a district court’s inherent powers the broad discretion to make discovery and
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                        evidentiary rulings conducive to the conduct of a fair and orderly trial.” Unigard Sec v. Lakewood
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                        Eng’g, 982 F.2d 363, 368 (9th Cir. 1992) (internal quotation marks omitted).
                21
                               As the Court has recognized (and as summarized in Waymo’s Offer of Proof), Defendants’
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                        litigation misconduct in this case has been exceptional in its pervasiveness and prejudice to Waymo.
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                        (Dkt. 2310 [11/29/2017 Hr’g Tr.] at 162:7-163:1 (“I’ve never seen a case where there were so many
                24
                        bad things that – like Uber has done in this case. So many. Usually it’s more evenly divided.”).)
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                        The Court should therefore use all of its authority, both statutory and inherent, in fashioning the
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                        appropriate remedy so that Waymo can present its case on a level playing field at trial.
                27
                        II.    DEFENDANTS’ MISCONDUCT JUSTIFIES TERMINATING SANCTIONS AS TO
                28
                               LIABILITY FOR TRADE SECRET MISAPPROPRIATION

                                                                        -1-                               Case No. 3:17-cv-00939
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                  1          Case-dispositive sanctions for discovery and litigation abuses are rare, but are warranted

                  2 here given the scope and severity of Defendants’ misconduct. To be clear, Waymo is not seeking a

                  3 default judgment, but rather a ruling on the issue of liability for Waymo’s trade secret

                  4 misappropriation claims. The Ninth Circuit has instructed courts considering such sanctions to

                  5 balance the following factors: “(1) the public’s interest in expeditious resolution of litigation; (2) the

                  6 court’s need to manage its dockets; (3) the risk of prejudice to the party seeking sanctions; (4) the public

                  7 policy favoring disposition of cases on their merits; and (5) the availability of less drastic sanctions.”

                  8 Atl. Inertial Sys. v. Condor Pac., 2010 WL 11459794, at *3 (C.D. Cal. 2010) (quoting Conn. Gen.

                  9 Life Ins. v. New Images of Beverly Hills, 482 F.3d 1091, 1096 (9th Cir. 2007) “What is most critical

                10 … is whether the discovery violations threaten to interfere with the rightful decision of the case.” Id.

                11 (quoting Conn. Gen., 482 F.3d at 1097). “In evaluating the propriety of sanctions, we look at all

                12 incidents of a party’s misconduct.” Adriana Int’l Corp. v. Thoeren, 913 F.2d 1406, 1411 (9th Cir. 1990).

                13 Here, the totality of Defendants’ misconduct warrants a ruling in Waymo’s favor on the issue of liability.

                14           (1) The public’s interest in expeditious resolution of litigation and (2) the court’s need to
                15 manage its dockets. Given the value of the technology at issue, and the grievousness of the trade secret

                16 theft that Waymo seeks to remedy and permanently enjoin, Waymo had no choice but to vigorously

                17 enforce its property rights. However, Waymo is not insensitive to the substantial resources that this

                18 Court has already expended in this case. To date, Defendants are responsible for two continuances of
                19 the trial date, one of which has been determined to have resulted from the intentional concealment of

                20 evidence. Resolving liability before trial will greatly streamline the issues to be presented to the jury

                21 (limiting them to willfulness and damages), as well as narrow issues before trial and through any appeals.

                22           (3) The risk of prejudice to the party seeking sanctions. Waymo has been denied a large
                23 volume of material evidence as a result of Defendants’ array of spoliation, privilege assertions, and

                24 concealment. The prejudice to Waymo is significant, because the “pattern of deception and discovery

                25 abuse [makes] it impossible for the district court to conduct a trial with any reasonable assurance that

                26 the truth [is] available.’” Valley Eng’rs. v. Elec. Eng’g, 158 F.3d 1051, 1057 (9th Cir. 1998) (internal
                27 quotations and citation omitted). And that prejudice is not eliminated simply because some of the

                28 improperly concealed discovery, such as the Jacobs Letter or Levandowski Ottomotto emails, were

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                  1 ultimately produced. See Fair Hous. of Marin v. Combs, 285 F.3d 899, 906 (9th Cir. 2002) (affirming

                  2 default judgment based on discovery violations and rejecting argument that sanctions were inappropriate

                  3 where documents were eventually produced because the “[l]ast-minute tender of documents does not

                  4 cure the prejudice to opponents nor does it restore to other litigants on a crowded docket the opportunity

                  5 to use the courts”); Henry v. Gill Indus., 983 F.2d 943, 947 (9th Cir. 1993) (rejecting plaintiff’s argument

                  6 that belated compliance with discovery obligations precluded imposition of case-dispositive sanctions).

                  7            (4) The public policy favoring disposition of cases on their merits. While public policy favors
                  8 the resolution of cases on their merits, “that will be true in every case where the Court considers case-

                  9 dispositive action.” Atl. Inertial Sys., 2010 WL 11459794, at *5. And here, Waymo is seeking a merits

                10 ruling by the factfinder on important issues, including willfulness and damages.

                11             (5) The availability of less drastic sanctions. Lesser sanctions, such as those presented below
                12 may be available, but are not sufficient to sanction Defendants, remedy the prejudice to Waymo, or to

                13 deter Uber (and other defendants) from seeking to benefit from similar misconduct in the future. Uber

                14 has already been on notice of the Court’s concerns for months. Moreover, imposing a sanction as to the

                15 facts establishing Defendants’ liability, while permitting other issues such as willfulness and damages

                16 to be decided by a jury, “falls within the category of less-severe sanctions” that may be appropriately

                17 issued on these facts. See, e.g., Alexsam, Inc. v. IDT Corp., 715 F.3d 1336, 1343 (Fed. Cir. 2013).

                18 III.        WAYMO IS ENTITLED TO REMEDIAL JURY INSTRUCTIONS
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                               As set forth in Waymo’s Offer of Proof, Defendants have violated Court Orders, improperly
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                        withheld discovery, and intentionally destroyed large swaths of evidence relevant to Waymo’s trade
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                        secret misappropriation claims. Waymo has already submitted proposed remedial jury instructions
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                        regarding Defendants’ violation of the Expedited Discovery Order and Provisional Relief Order
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                        (Dkt. 1501-6) and spoliation (Dkt. 2197-4 at 23). Waymo has also asked the Court to sanction
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                        Defendants by ruling that the adverse inference against Levandowski’s assertion of the Fifth
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                        Amendment also apply to Defendants. (Dkt. 818-3.) These sanctions and remedial instructions are
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                        all warranted. But based on the full scope of Defendants’ misconduct, including (but not limited to)
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                        more recent concealment in connection with the Jacobs Letter, Waymo is entitled to additional
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                  1 relief. For example, the jury should be informed more broadly of the pattern of misconduct by both

                  2 Defendants and their attorneys, and instructed that they may take all of this into account in

                  3 determining the trustworthiness of Defendants’ witnesses, attorneys, and agents.

                  4 IV.      WAYMO IS ENTITLED TO EVIDENTIARY SANCTIONS
                  5          Defendants’ concealment of evidence in this case has been far-ranging and not limited to
                  6 collateral issues. It is well-established that a district court “may direct that matters encompassed by

                  7 discovery failures shall be taken as established as a penalty for [a party] failing to comply with Rules

                  8 26(a) or 26(e).” USACM Liquidating Trust v. Monaco, 2010 WL 1849291, at *7 (D. Nev. 2010),

                  9 aff’d sub nom. In re USA Commercial Mortg. Co., 462 F. App’x 677 (9th Cir. 2011); see also Stanton

                10 v. Iver Johnson’s Arms, Inc., 88 F.R.D. 290, 292 (D. Mont. 1980) (recognizing that “Rule

                11 37(b)(2)(A) gives this court the power to establish any of the facts plaintiff has requested be

                12 established” and collecting cases). Courts may also sanction discovery abuses by precluding the

                13 introduction of argument or evidence that was improperly withheld. See, e.g., Cheng v. AIM Sports,

                14 Inc., 2011 WL 13175663, at *12 (C.D. Cal. 2011) (awarding evidentiary sanctions, including the

                15 preclusion of testimony related to the withheld information, to remedy prejudice caused by

                16 defendants’ discovery abuses); Parker v. Witasick, 2009 WL 2710191, at *6 (D. Ariz. 2009)

                17 (ordering preclusion of evidence to remedy discovery violations). Here, Defendants’ numerous

                18 willful and bad faith discovery violations warrant evidentiary sanctions.
                19           First, Defendants’ discovery failures have compromised Waymo’s evaluation of their
                20 purported “independent development” of the accused technology. Critical evidence has been

                21 spoliated. Defendants failed to provide a complete and timely log of Levandowski’s LiDAR

                22 communications in violation of Paragraph 5 of the Court’s PI Order. And Defendants’ success in

                23 blocking access to the Stroz materials – materials that identified key trade secret documents that

                24 Levandowski retained after leaving Waymo – until after the close of fact discovery impeded

                25 Waymo’s ability to cross examine the purported independent development engineers (James Haslim

                26 and Scott Boehmke) on the true origins of Defendants’ technology. As a sanction, the Court should
                27 preclude Defendants’ from arguing that they “independently developed” the technology at issue.

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                  1          Second, Defendants have repeatedly prevented Waymo from obtaining full and fair

                  2 discovery into devices used in the development of the accused technology, and whether they contain

                  3 (or have ever contained) Waymo trade secret documents. This includes destroyed evidence at Tyto

                  4 and Ottomotto, use of ephemeral communications by Levandowski and others, and the never-

                  5 examined non-Uber laptops Levandowski used “for Uber work.” Accordingly, Defendants should

                  6 be precluded from arguing that the files “never made it to Uber’s servers.”

                  7 V.       WAYMO SHOULD BE ALLOCATED ADDITIONAL TIME AT TRIAL
                  8          Defendants’ obstruction, spoliation, and misconduct has not only impeded Waymo’s pursuit of

                  9 the truth in discovery, but has greatly and unnecessarily complicated Waymo’s ability to present its case

                10 to the jury. Issues that should be simple to explain through a single witness or a few exhibits, must now

                11 be pieced together across multiple witnesses and scattered pieces of circumstantial evidence. The Stroz

                12 due diligence process, the fragmentary surviving paper trail of Defendants’ competitive intelligence

                13 efforts against Waymo, the convoluted transactional history of Ottomotto and Tyto’s integration into

                14 Uber, and missing evidence related to Defendants’ development of the accused technology (and in

                15 particular Levandowksi’s role in that development) are just examples of a problem that Waymo is facing

                16 across virtually every issue it will need to explain to a jury that depends on evidence from Defendants.

                17           District courts are permitted broad discretion to decide issues related to the management of trials.

                18 See Graves v. Arpaio, 623 F.3d 1043, 1047 (9th Cir. 2010) (“District courts have broad discretion when
                19 it comes to trial management.”). Because Waymo has been prejudiced by problems that are entirely

                20 attributable to Defendants and their attorneys, the appropriate remedy here is to award Waymo additional

                21 time and to dock time from Defendants. See, e.g., Juniper Networks, Inc. v. Toshiba Am., Inc., 2007

                22 WL 2021776, at *4 (E.D. Tex. 2007) (sanctioning defendants for discovery abuses by, inter alia, cutting

                23 defendants’ time for voir dire to half of the time awarded to plaintiff, removing two juror strikes, cutting

                24 defendants’ time for opening statements to half of the time awarded to plaintiff, and cutting defendants

                25 time for closing statements to a third of the time awarded to plaintiff); Fuqua v. Horizon/CMS

                26 Healthcare Corp., 199 F.R.D. 200, 206 (N.D. Tex. 2000) (revising trial time allocations to sanction
                27 discovery abuses and remedy the prejudice caused by discovery misconduct). Accordingly, Waymo

                28 should be allocated an additional two hours of time at trial, and Defendants should be docked two hours.

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                  1                                                   ###

                  2           Accordingly, Waymo requests that this Court grant it permission to file a motion for relief.
                  3
                        DATED: January 12, 2018                    QUINN EMANUEL URQUHART & SULLIVAN,
                  4                                                LLP

                  5                                                 By /s/ Charles K. Verhoeven
                                                                      Charles K. Verhoeven
                  6                                                   Attorneys for WAYMO LLC
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